             Case 2:12-cr-00375-TLN Document 144 Filed 01/07/15 Page 1 of 3


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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                           UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                     ) Case No. 2:12-CR-0375-TLN
     UNITED STATES OF AMERICA,        )
9                                     ) STIPULATION AND ORDER
              Plaintiff,              ) CONTINUING STATUS
10                                    ) CONFERENCE AND EXCLUDING
         vs.                          ) TIME
11                                    )
     MICHAEL RAY TAYLOR, JR., et al., )
12                                    )
              Defendants.             )
13

14   Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendants, by and through their counsel of record, hereby stipulate as follows:
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        1. By previous order, this case was set for a Status Conference on January 8,
17

18         2015.
19      2. By this stipulation, all the undersigned Defendants agree to continue the
20
           Status Conference to March 5, 2015, at 9:30 a.m. The parties stipulate to
21

22         exclude time until March 5, 2015, under Local Code T4. Plaintiff does not

23         oppose this request.
24
        3. The parties agree and stipulate and request that the Court find the following:
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     Case 2:12-cr-00375-TLN Document 144 Filed 01/07/15 Page 2 of 3



1
      a. The undersigned defense counsel continue to need time to prepare for

2        both a possible trial as well as a resolution by way of written plea
3
         agreement. Counsel for Mr. Taylor, Jr. continues to need additional
4
         time to confer with his client, who resides in the Los Angeles area,
5

6        concerning a possible plea resolution, to conduct further research and
7
         investigation concerning the amount of loss, and to meet and confer
8
         with counsel for the government. Attorneys for Mr. Martin and Mr.
9

10       Walters need a continuance of the status conference as both are
11
         starting and/or in trial.
12
      b. Counsel for Defendants believe that failure to grant the above-
13

14       requested continuance would deny them the reasonable time necessary
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         for effective preparation, taking into account the exercise of due
16
         diligence.
17

18    c. Due to the need for attorney preparation, the ends of justice served by

19       continuing the case as requested outweigh the interest of the public
20
         and the defendants in a criminal trial within the time prescribed by the
21

22       Speedy Trial Act.

23    d. For the purpose of computing time under the Speedy Trial Act, 18
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         U.S.C. § 3161, et seq., within which trial must commence, the time
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26
         until March 5, 2015, is deemed excludable pursuant to 18 U.S.C. §

                                      2
           Case 2:12-cr-00375-TLN Document 144 Filed 01/07/15 Page 3 of 3



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                3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

2               continuance granted by the Court at defendants’ request on the basis
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                of the Court’s finding that the ends of justice served by taking such
4
                action outweigh the best interest of the public and the defendant in a
5

6               speedy trial.
7
       4. Nothing in this stipulation and order shall preclude a finding that other
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          provisions of the Speedy Trial Act dictate that additional time periods are
9

10        excludable from the period within which a trial must commence.
11
       IT IS SO STIPULATED
12
     DATED: January 6, 2015                       /s/ Timothy E. Warriner, Attorney for
13
                                                  Defendant, Michael Taylor, Jr.
14
     DATED: January 6, 2015                       /s/ Christopher Cosca, Attorney for
15
                                                  Defendant, Gregory Martin
16
     DATED: January 6, 2015                       /s/ Michael Chastaine, Attorney for
17                                                Defendant, Andre Walters
18
     DATED: January 6, 2015                       /s/ Jared C. Dolan, Assistant
19                                                U.S.Attorney
20

21   IT IS SO ORDERED
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24
     DATED: January 6, 2015
                                                   Troy L. Nunley
25                                                 United States District Judge

26

                                              3
